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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                                      Chapter 11
WOODBRIDGE GROUP OF COMPANIES, LLC,
et al., 2                                                             Case No. 17-12560 (BLS)
                   Remaining Debtors.
                                                                      (Jointly Administered)

MICHAEL GOLDBERG, as Liquidating Trustee of                           Adv. Proc. No. 19-50899 (BLS)
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP
OF COMPANIES, LLC, et al.,

                                    Plaintiff,
          v.

KIRK T. GRIFFITH; MAINSTAR TRUST,
CUSTODIAN FOR THE BENEFIT OF KIRK
GRIFFITH TW003085,
                       Defendants.



                    ORDER APPROVING STIPULATION FOR JUDGMENT
                             AGAINST KIRK T. GRIFFITH

          The Court having considered the Stipulation for Judgment Against Kirk T. Griffith (the

“Stipulation”) and the evidence presented in connection with the Stipulation, and good cause

appearing therefor, it is hereby

          ORDERED that the Stipulation is approved; and it is further

          ORDERED that judgment (“Judgment”) shall be entered against defendant Kirk T.

Griffith (the “Defendant”), and in favor of Michael Goldberg, as Liquidating Trustee of the

Woodbridge Liquidation Trust, (the “Trustee”) in the amount of $426,178.31, that claim

2
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.



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number 6506 and scheduled claim ID 1010348 be disallowed, stricken from the claims register

and that Defendant take nothing therefrom; and it is further

          ORDERED that the Defendant and the Trustee each have waived their respective rights

to (a) any trial (jury or otherwise), (b) appeal or (c) otherwise attempt to set aside or attack the

Stipulation, this Order or the Judgment, and have agreed that the Judgment may be entered

pursuant to the Stipulation and this Order; and it is further

          ORDERED, that the Trustee may execute on the Judgment after providing three (3) days

notice by e-mail to the person listed in paragraph 2 of the Stipulation for Judgment Against Kirk

T. Griffith.

          ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the Stipulation, this Order and/or the Judgment.




Dated: November 5th, 2020 Wilmington,
Delaware                                   BRENDAN L. SHANNON UNITED STATES BANKRUPTCY JUDGE




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